
693 S.E.2d 355 (2010)
JONES
v.
KELLER.
No. 518PA09.
Supreme Court of North Carolina.
February 2, 2010.
Tiare B. Smiley, Special Deputy Attorney General, for Alvin W. Keller, et al.
Glenn A. Barfield, Goldsboro, Sarah Jessica Farber, Raleigh, Katherine Jane Allen, Assistant Appellate Defender, for Alford Jones.
David C. Pishko, Winston-Salem, Margaret S. Abrams, Raleigh, for N.C. Advocates for Justice.
The following order has been entered on the motion filed on the 1st of February 2010 by N.C. Advocates for Justice for leave to file Amicus Curiae Brief:
"Motion Allowed by order of the Court in conference this the 2nd of February 2010."
Unless already submitted, the Amicus Brief shall be submitted to the court within the times allowed and in the manner provided by Appellate Rule 28(i).
